Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 1 of 18




                                                                     EXHIBIT 33
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 2 of 18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 3 of 18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 4 of 18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 5 of 18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 6 of 18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 7 of 18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 8 of 18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 9 of 18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 10 of
                                        18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 11 of
                                        18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 12 of
                                        18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 13 of
                                        18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 14 of
                                        18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 15 of
                                        18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 16 of
                                        18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 17 of
                                        18
Case 4:14-cv-00504-GKF-PJC Document 72-32 Filed in USDC ND/OK on 04/15/16 Page 18 of
                                        18
